






COURT OF APPEALS

EIGHTH DISTRICT OF TEXAS

EL PASO, TEXAS



ROBERT F. DUNCAN, JR. and
INTERAMERICA PROPERTY
COMPANY,


                            Appellants,


v.



F-STAR MANAGEMENT, L.L.C., F-STAR PROPERTIES, INC., F-STAR
SOCORRO, L.P., FIVE STAR
INTERNATIONAL HOLDINGS
INCORPORATED, NINE STAR
INVESTMENTS INCORPORATED,
GERALD C. "JERRY" AYOUB, FIVE
ON SITE INTERNATIONAL, INC. and
PENTA ESTRELLA S. de R.L. de C.V., 


                            Appellees.
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No. 08-06-00007-CV



Appeal from the


171st Judicial District Court


of El Paso County, Texas 


(TC# 99-750) 


O P I N I O N


	Appellant Robert Duncan sued Appellees F-Star (1) for unpaid commission and tax-consulting fees.  The trial court directed a verdict in favor of F-Star, and Mr. Duncan appeals that
judgment.  We find that the commission agreements between Mr. Duncan and F-Star are
unenforceable under the Real Estate License Act, and that Mr. Duncan is barred from collecting
tax-consulting fees because he was not a registered property-tax consultant, and we affirm the
trial court's judgment.

	Robert Duncan is a licensed real estate broker.  He is the sole owner of InterAmerica
Property Company, an El Paso brokerage dealing in commercial real estate along the United
States - Mexico border.  In 1997, Thomson Consumer Electronics wanted to consolidate its 
warehouse facilities in El Paso.  Thomson wanted to find warehouse space with railroad access,
close proximity to the border, foreign-trade zoning, and the possibility of property-tax
abatements.  Thomson entered an exclusive-representation agreement with Mr. Duncan to find an
appropriate space.  The agreement specified that Mr. Duncan should negotiate his commission
with the landlord of the property.  Several developers competed to provide Thomson with the
warehouse space, including Five Star International, one of the companies owned by Appellee
Gerald Ayoub.  

	After Mr. Ayoub learned about Thomson's proposed warehouse project, he asked
InterAmerica to find railroad-accessible property in Socorro, which Mr. Ayoub could purchase
and lease to Thomson.  Mr. Duncan found a suitable piece of farmland.  Nine Star Investments,
another of Mr. Ayoub's companies, agreed to purchase the farmland from Wells Fargo Bank on
October 29, 1997.  The terms of the purchase were laid out in an earnest-money contract signed
by Mr. Ayoub, Mr. Duncan, and a real-estate-asset manager from Wells Fargo.  The earnest-money contract identified the land as "consisting of Tracts 15, 16 and 17, in Block 11, out of the
Socorro Grant, El Paso County, Texas, consisting of not more than 145 acres."  The earnest-money contract also specified that "Buyer shall pay Broker a fee as specified in a separate
agreement between Broker and Buyer," with "Buyer" referring to Nine Star International and
"Broker" referring to InterAmerica.  

	On November 15, 1997, Mr. Duncan sent Mr. Ayoub a letter stating that InterAmerica
had procured Five Star Development, yet another of Mr. Ayoub's companies, as a prospective
buyer for property identified only as "Operation Campus View, Socorro, Texas."  The letter
stated that InterAmerica would receive a 6 percent commission if Five Star Development
purchased the property.  The letter also stated that the agreement would begin on November 15,
1997 and last for one year.  Both Mr. Duncan and Mr. Ayoub signed the letter.  

	Thomson's corporate real estate officer determined that Mr. Ayoub's newly acquired
property in Socorro would be the ideal site for Thomson's warehouse.  On November 26, 1997,
Mr. Duncan sent Mr. Ayoub another letter stating that InterAmerica had procured Thomson as a
prospective tenant for the property in Socorro.  The property was again identified only as
"Operation Campus View, Socorro, Texas."   The letter stipulated that InterAmerica would
receive a commission of 1.4 percent of the total rent for the entire term.  

	On December 11, 1997, Thomson entered a lease with Mr. Ayoub's company Five Star
International as landlord.  Under the terms of the lease, Thomson would rent a 950,000 square
foot building to be constructed by Five Star International.  The building would be located on a 67
acre parcel of land, which the lease identified with addresses and a map.  The legal description of
the land was "a portion of Tracts 15-17, inclusive Block 11, Socorro Grant, El Paso County,
Texas."  The lease term was for  twelve years.  

	After signing the lease with Thomson, Mr. Ayoub sought tax abatements on his newly
purchased 145 acre tract in Socorro, including the 67 acres rented by Thomson.  Mr. Duncan
attended several meetings with taxing authorities on Mr. Ayoub's behalf, and he delivered a
presentation to the Socorro Independent School District.  The presentation was successful--on
March 9, 1998, Mr. Ayoub's company F-Star Socorro entered a ten-year tax-abatement
agreement with the school district.  

	Meanwhile, development of the property hit several snags.  The land-sale closing was
delayed three times, finally occurring on March 24, 1998.  Mr. Ayoub also had difficulty
obtaining a loan.  In order to procure the loan, Mr. Ayoub asked Mr. Duncan to defer his
commission until 1999.  Mr. Duncan agreed to defer his commission, but he requested advances
from Mr. Ayoub to keep his company afloat.  In February 1998, Mr. Duncan received checks for
$50,000 and $24,500 from Mr. Ayoub's company Five On-Site International.  In April,
Mr.&nbsp;Duncan received two more checks, for $25,500 and $20,000, also from Five On-Site
International.  As part of his agreement to defer his commission, Mr. Duncan requested that his
commission on the lease be raised from 1.4 percent to 5 percent.  On May 1, 1998, Mr. Duncan
sent Mr. Ayoub a letter stating that InterAmerica would receive a commission of 5 percent of the
total rent for the entire term of the lease.  The letter also specified that F-Star Socorro would pay
Mr. Duncan a consulting fee of $500,000 for his services in connection with the tax-abatement
program.  Both Mr. Duncan and Mr. Ayoub signed the letter.  

	Thomson occupied the Socorro warehouse site on July 1, 1998.  Mr. Duncan and
InterAmerica did not directly receive any further payments on the commission, although
Mr.&nbsp;Ayoub testified that his companies paid third parties on Mr. Duncan's behalf.  

	On January 18, 2001, Mr. Duncan filed his third amended petition against Appellees
Mr.&nbsp;Ayoub, F-Star Management, F-Star Properties, F-Star Socorro, Five Star International, Nine
Star Investments, Five On-Site International, and Penta Estrella.  In the petition, Mr. Duncan
alleged that F-Star owed him more than $3 million in unpaid commissions and $500,000 in tax-consulting fees.  Mr. Duncan alleged breach of contract, quantum meruit, fraud, breach of
fiduciary duty, and deceptive trade practices.  After a jury trial, the trial judge issued a directed
verdict, ordering that Mr. Duncan take-nothing on his claims.  

	A directed verdict is proper when (1) the opponent's pleadings are defective and
insufficient to support a judgment, (2) the evidence conclusively proves a fact that establishes the
movant's right to judgment as a matter of law, or negates the right of the nonmovant to judgment,
or (3) the evidence offered is insufficient to raise a fact issue on the cause of action at issue. 
State ex rel. Tex. Dep't of Transp. v. Esquivel, 92 S.W.3d 17, 19 (Tex.App.--El Paso 2002, no
pet.).  In reviewing a trial court's grant of a directed verdict on an evidentiary basis, we determine
whether there is any evidence of probative force to raise fact issues on the material issues
presented.  Id. at 19-20.  We consider all of the evidence in a light most favorable to the party
against whom the verdict was instructed and disregard all contrary evidence.  White v. Sw. Bell
Tel. Co., Inc., 651 S.W.2d 260, 262 (Tex. 1983).  If there is any conflicting evidence of probative
force on any theory of recovery, the issue is for a jury.  Id.  In that case, a directed verdict is
improper, and the case must be reversed and remanded for the jury's determination on the issue. 
Esquivel, 92 S.W.3d at 20.

	In Issue One, Mr. Duncan argues that there was sufficient evidence to support his claim
for commission from the lease between Thomson and Five Star International, and that the
directed verdict was improperly granted on that claim.

	At the time that Mr. Duncan filed his petitions in the trial court, the Real Estate License
Act provided:  "An action may not be brought in a court in this state for the recovery of a
commission for the sale or purchase of real estate unless the promise or agreement on which the
action is brought, or some memorandum thereof, is in writing and signed by the party to be
charged or signed by a person lawfully authorized by the party to sign it."  Act of 1997, 75th
Leg., R.S., ch. 839, § 27(b), 1977 Tex.Gen.Laws 2695, 2709 (amended 2001)(current version at
Tex.Occ.Code Ann. § 1101.806(c)(Vernon 2004)).  "Real estate" under the Act includes a
leasehold.  Tex. Builders v. Keller, 928 S.W.2d 479, 481 (Tex. 1996).

	To comply with the Act's requirements, a written commission agreement must provide a
description of the real estate that would satisfy the statute of frauds.  Keller, 928 S.W.2d at 481. 
In other words, the agreement must furnish, either within itself or by reference to some other
existing document, the means or data by which the real estate may be identified.  Id., citing Owen
v. Hendricks, 433 S.W.2d 164, 166 (Tex. 1968).  A commission agreement does not have to
contain a metes-and-bounds property description to be enforceable, but it must furnish the data to
identify the property with reasonable certainty.  Id., citing Morrow v. Shotwell, 477 S.W. 2d 538,
539 (Tex. 1972).  Parol evidence may be used to clarify or explain the agreement, but not to
supply the agreement's essential terms.  Id.  For example, a court of appeals held that a contract
for the sale of "my ranch of 2200 acres" satisfied the statute of frauds where extrinsic evidence
showed that the grantor owned one ranch, which contained 2200 acres.  Jones v. Smith, 231
S.W.2d 1003, 1004 (Tex.Civ.App.--Austin 1950, writ ref'd n.r.e.).  However, a commission
agreement for the sale or lease of an unidentified portion of a larger, identifiable tract is not
sufficient.  See Keller, 928 S.W.2d at 482 (holding unenforceable a commission agreement that
specified the address of the leased property, but did not identify which 58,333 square feet of the
property's total 100,000 square feet were being leased).

	Mr. Duncan argues that the May 1 letter expresses his final agreement with Mr. Ayoub
for a 5 percent commission on the lease to Thomson.  The May 1 letter only identifies the
property as "Build-to-Suit for Thomson Consumer Electronics Facility in Socorro, Texas
("Property")."  Mr. Duncan does not argue that this is a sufficient description of the property. 
Rather, he argues that the May 1 letter should be read together with the December 11 lease,
which specifies the size and location of the leased property.  

	But even assuming that the December 11 lease contains a sufficient description to identify
the property, the May 1 letter does not explicitly refer to the December 11 lease.  The first three
paragraphs of the letter state as follows:

	The purpose of this letter is to confirm that InterAmerica Property Company, as Broker,
has procured Thomson Consumer Electronics ("Tenant"), as a prospective tenant for the
Property.  In the event a lease of the Property, or any part thereof, is consummated with
Tenant, you agree to pay InterAmerica Property Company its commission as described
below.


	(1)	For a net lease (where the Tenant pays all or a major portion of the cost of
maintaining and operating the Property), an amount equal to five percent
(5 %) of the total rent for the entire term, shall be paid by you to
InterAmerica Property Company upon occupancy of the Property.


	(2)	The lease contains options to lease additional space in the Property.  If
such option is exercised, or if additional space is leased through
subsequent modification of the lease or its terms, an additional
commission computed as $2.58 of the $5.50 psf construction management
fee outlined in Paragraph 10(b) of the lease is earned and payable with
respect to such additional space per Paragraph 10(b).


	The prefatory paragraph and paragraph (1) appear to contemplate a lease to be signed at a
future date.  Although paragraph (2) refers to "the lease," it refers to a lease with a paragraph
10(b), regarding an option to expand.  The December 11 lease has no paragraph 10(b).  As far as
we are able to determine, the only document in the record here with a paragraph 10(b) on
expansion is an unsigned land-sale contract between F-Star Socorro and a third-party family
trust.  

	We find that the May 1 letter is not an enforceable commission agreement because it does
not sufficiently identify the leased property and does not specifically refer to another existing
document that does identify the property.  Accordingly, Issue One is overruled.

	In Issue Two, Mr. Duncan argues that there was sufficient evidence to support his claim
for commission from the land-sale contract between Wells Fargo and Nine Star Investments.

	In support of this argument, Mr. Duncan relies on the November 15 letter, which
stipulated that InterAmerica would receive a 6 percent commission on the sale of land identified
only as "Operation Campus View, Socorro, Texas ("Property")."  Mr. Duncan argues that the
parties understood the phrase "Operation Campus View" to refer to a specific site in Socorro
where the Thomson facility would eventually be located.  He also argues that the November 15
letter should be read together with the earnest-money contract, in which Nine Star agreed to
purchase the 145 acre tract from Wells Fargo.

	The record does not reflect that the phrase "Operation Campus View" was used
unambiguously to refer to a single tract of land.  Thomson used the phrase "Operation Campus
View" to refer generally to its project of consolidating its warehouse facilities.  The phrase
appears in both the November 15 letter, describing the 145 acre tract that was sold to Nine Star,
and the November 26 letter, describing the smaller 67 acre tract that was leased to Thomson.  By
itself, the term could not have connoted a specific tract of land with a specific acreage.

	Moreover, the November 15 letter does not refer to the earnest-money contract or to any
other land-sale contract.  The only mention of an agreement between Five Star Development and
Wells Fargo appears to be a contemplation of a future agreement:  "In the event a sale of the
Property or any part thereof is consummated with Buyer then you agree to pay IPC its
commission as described below . . . ."

	The November 15 letter is not an enforceable commission agreement because it does not
sufficiently identify the sold property and does not specifically refer to another existing document
that does identify the property.  Accordingly, Issue Two is overruled.

	In Issue Three, Mr. Duncan argues that there was sufficient evidence to support his claim
for tax-abatement consulting fees.  F-Star responds by arguing that because neither Mr. Duncan
nor InterAmerica is a registered property-tax consultant, they may not recover consultant fees
under Section 1152.151(a) of the Occupations Code.  Mr. Duncan did not respond to this
argument in his reply brief.  At oral argument, Mr. Duncan's counsel admitted that there was
nothing in the record to show Mr. Duncan was a registered property-tax consultant, but argued
that because the agreement concerned rural property, Mr. Duncan was not required to register.

	In 1999, when Mr. Duncan claims to have performed tax-consulting services for
Mr.&nbsp;Ayoub's companies, the Public Accountancy Act provided:  "A person may not represent
that an individual is a registered property tax consultant, agent, advisor, or representative unless
the individual is a registered property tax consultant or registered senior property tax consultant." 
Act of 1995, 74th Leg., R.S., ch. 727, § 2(c), 1995 Tex.Gen.Laws 3833 (amended 2001)(current
version at Tex.Occ.Code Ann. § 1152.151 (Vernon 2004)).  But a consultant could be exempt
from that section if he provided consulting services only for a single-family residence.  Act of
1995, 74th Leg., R.S., ch. 727, § 2(d)(8), 1995 Tex.Gen.Laws 3833 (amended 2001)(current
version at Tex.Occ.Code Ann. § 1152.002(a)(8)(Vernon 2004)).  On June 1, 2003, the
registration requirement was repealed and recodified at Section 1152.151 of the Occupations
Code, while the single-family-residence exception was recodified at Section 1152.002(a)(8).  On
June 20, 2003, the single-family-residence exception was amended to provide that a consultant
could be exempt from the registration requirement if he provided consulting services only for
farms, ranches, or single-family residences.  Tex.Occ.Code Ann. § 1152.002(a)(8).

	The rural exception to the property-tax-consultant registration requirement was not in
effect in 1999, when Mr. Duncan allegedly performed his tax-consulting services for
Mr.&nbsp;Ayoub's companies.  Therefore,  Mr. Duncan's claim for property-tax-consulting fees is
barred, as there is no evidence indicating that he was properly registered under the Public
Accountancy Act.  Issue Three is overruled.

	In Issue Four, Mr. Duncan makes two arguments:  (1) that Mr. Ayoub judicially admitted
that he owed Mr. Duncan a commission for the lease; and (2) that Mr. Ayoub partially performed
by paying Mr. Duncan $120,000 in advances on the commission.

	A party's testimonial declarations that are contrary to his position are considered "quasi-admissions."  Mendoza v. Fidelity &amp; Guar. Ins. Underwriters, Inc., 606 S.W.2d 692, 694 (Tex.
1980).  Quasi-admissions are distinct from true judicial admissions, which are formal waivers of
proof usually found in pleadings or the stipulations of the parties.  Id.  A quasi-admission will be
treated as a judicial admission only if:  (1) the declaration was made during the course of a
judicial proceeding; (2) the statement is contrary to an essential fact embraced in the declarant's
theory of recovery or defense; (3) the statement is deliberate, clear, and unequivocal; (4) giving
conclusive effect to the declaration will be consistent with public policy; and (5) the statement is
not destructive of the opposing party's theory of recovery.  Mendoza, 606 S.W.2d at 694.  A
judicial admission is waived when evidence contrary to the purported admission is heard without
objection on that ground.  Field v. AIM Mgmt. Group, Inc., 845 S.W.2d 469, 473 (Tex.App.--Houston [14th Dist.] 1993, no writ); Indus. Disposal Supply Co., Inc. v. Perryman Bros. Trash
Serv., 664 S.W.2d 756, 764 (Tex.App.--San Antonio 1983, writ ref'd n.r.e.).

	Mr. Duncan points to Mr. Ayoub's deposition testimony, in which Mr. Ayoub stated:  "If
you're asking if he was entitled to 1.4 percent or Inter America was entitled to 1.4 percent
commission stated in the commission agreement of approximately $434 [thousand], yes, we go --
I've always agreed to that."  But at trial, when Mr. Ayoub was asked why he used Five On-Site
International to pay Mr. Duncan rather than one of the business entities involved in the Socorro
transaction, Mr. Ayoub responded:  "They were advances.  And none of those companies you
mentioned owed him any money."  Mr. Duncan's counsel did not object to this remark.  The
latter statement made at trial plainly contradicts Mr. Ayoub's earlier deposition testimony.  By
not objecting, Mr. Duncan waived his judicial-admission contention.  See Field, 845 S.W.2d at
473.

	Mr. Duncan also argues that Mr. Ayoub and his companies partially performed on the
agreement by paying Mr. Duncan $120,000 in advances.  Partial performance of an otherwise-unenforceable agreement will sometimes relieve the performing party from the statute of frauds,
but the partial performance must be unequivocally referable to the agreement and corroborative
of the fact that an agreement was made.  Leon Ltd. v. Albuquerque Commons P'ship, 862 S.W.2d
693, 702 (Tex.App.--El Paso 1993, no writ).  What is done must itself supply the key to what is
promised.  Chevalier v. Lane's, Inc., 147 Tex. 106, 113, 213 S.W.2d 530, 534 (Tex. 1948).

	The checks from Five On-Site International to Mr. Duncan do not unequivocally
corroborate any of the unenforceable commission agreements involved in this case.  Both
commission agreements specify that commission should be paid to InterAmerica, but the checks
are made out to Mr. Duncan individually.  The checks are from Five On-Site International, which
was not a party to either commission agreement.  Moreover, the memo sections of the checks
also do not indicate that they are commission payments.  One check states that it is for a
"Consulting Fee," another states that it is to "Reimburse Expenses," and the other two have blank
memo sections.  Neither the sender nor the recipient of the checks was a party to the commission
agreements, and the memo sections do not suggest that the checks were commission payments. 
The checks do not corroborate the commission agreements sufficiently to constitute partial
performance and circumvent the statute of frauds.  Issue Four is overruled.

	In Issues Five and Six, Mr. Duncan argues that there was sufficient evidence to establish
a fact question as to whether Mr. Ayoub had engaged in fraud through his alter ego companies.  

	In Mr. Duncan's third amended petition, he did not allege any fraud damages apart from
his lost commissions and his lost tax-consulting fee.  As discussed above, we find that
Mr.&nbsp;Duncan's commission agreement and his tax-consulting agreement are both unenforceable. 
A real-estate broker may not allege fraud to recover commission on an unenforceable
commission agreement, even if he can prove the elements of fraud.  Keller, 928 S.W.2d at 482;
see also Trammell Crow Co. No. 60 v. Harkinson, 944 S.W.2d 631, 633 (Tex. 1997)(barring a
broker's claims for tortious interference and civil conspiracy where there was no enforceable
commission agreement and the broker only sought the commission as damages).

	Because Mr. Duncan did not allege damages apart from his lost commissions and lost
tax-consulting fees, both of which arise from unenforceable agreements, we find that his action
for fraud is barred.  Issues Five and Six are overruled.

	We affirm the trial court's judgment.



August 21, 2008

						DAVID WELLINGTON CHEW, Chief Justice


Before Chew, C.J., McClure, ad Carr, JJ.
1.  We will refer to Appellees collectively as "F-Star" throughout this opinion. 


